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 1 MCGUIREWOODS LLP
   Alicia A. Baiardo (SBN 254228)
 2 Two Embarcadero Center, Suite 1300
   San Francisco, CA 94111
 3 Telephone: (415) 844-9944
   E-Mail: abaiardo@mcguirewoods.com
 4
   MCGUIREWOODS LLP
 5 Piper A. Waldron (SBN 291482)
   1800 Century Park East, 8th Floor
 6 Los Angeles, California 90067
   Telephone: (310) 315-8200
 7
   E-Mail: pwaldron@mcguirewoods.com
 8
   Attorneys for Specially Appearing Defendants TannerGap, Inc. and
 9 Tanner Pharma UK Limited

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11
                                 UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13

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     FS MEDICAL SUPPLIES, LLC,                       CASE NO. 5:21-cv-03017-NC
15
                  Plaintiffs,                        SPECIALLY APPEARING DEFENDANTS
16                                                   TANNERGAP, INC. AND TANNER
           vs.                                       PHARMA UK LIMITED’S REPLY IN
17                                                   SUPPORT OF MOTION TO DISMISS
   TANNERGAP, Inc.; TANNER PHARMA UK                 FOR LACK OF PERSONAL
18 LIMITED; and DOES 1 through 50, inclusive,        JURISDICTION

19                Defendants.                        [Fed. R. Civ. Proc. 12(b)(2)]

20                                                   Hearing Date:     June 16, 2021
                                                     Hearing Time:     1:00 p.m.
21                                                   Hearing Location: Courtroom 5

22                                                   Magistrate Judge Nathanael M. Cousins

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.       INTRODUCTION
 3          Plaintiff FS Medical Supplies, LLC’s (“Plaintiff”) Opposition focuses on Plaintiff’s

 4 conduct and Plaintiff’s physical presence in California. But this misconstrues the fundamental

 5 principle of personal jurisdiction—that it is the defendant’s intentional conduct, not the plaintiff’s,

 6 which creates the necessary contacts with the forum to find jurisdiction exists over a defendant.

 7 Indeed, Defendants TannerGap, Inc. and Tanner Pharma UK Limited (collectively, “Defendants”)

 8 must have “performed some type of affirmative conduct which allows or promotes the transaction

 9 of business within [California]” to find jurisdiction is proper. Sher v. Johnson, 911 F.2d 1357,

10 1362 (9th Cir. 1990) (quoting Sinatra v. Nat’l Enquirer, Inc. 854 F.2d 1191, 1195 (9th Cir. 1988)).

11 “In the absence of contractual obligations by [a defendant], such as sale of goods or services to

12 California residents or a deliberate presence in California, [a plaintiff’s unilateral] activity is

13 insufficient to satisfy part one of the ‘minimum contacts’ test.” McGlinchy v. Shell Chem. Co.,

14 845 F.2d 802, 816 (9th Cir. 1988). Similarly, here, the Agreement makes no provision for the sale

15 of goods or services to California residents; in fact, it provides exactly the opposite—that products

16 will be supplied outside the United States. See ECF No. 5-1 at ¶¶ 12-15. As discussed herein,

17 there is no “affirmative conduct” on the part of Defendants in California. As a result, Plaintiff

18 cannot meet its burden of demonstrating that jurisdiction over these Defendants in California
19 would be appropriate.

20          As set forth in Defendants’ Motion to Dismiss (the “Motion”), the facts demonstrate that

21 Defendants lack the constitutionally required “minimum contacts” with California. For example,

22 Defendants do not conduct business in California, they do not have an agent for service of process

23 in California, they do not have employees in California, they do not pay California taxes, and they

24 do not own real property in California. See ECF No. 5 at 3:8-20. Nothing in Plaintiff’s

25 Opposition contradicts these facts. Instead, Plaintiff focuses on Plaintiff’s presence in California

26 but falls short of describing Defendants’ presence in the state. Moreover, and importantly, the

27 parties’ Distribution Agreement (the “Agreement”) makes clear that the supply and sale of goods

28 under the Agreement was to occur outside of California. Again, Plaintiff cannot and does not
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 1 dispute this fact.

 2          In its Opposition, Plaintiff argues that because Defendants entered into the Agreement with

 3 a California party, sent payments to Plaintiff pursuant to the Agreement, and agreed to profit share

 4 with Plaintiff, Defendants are necessarily subject to California jurisdiction. However, as

 5 explained herein, these factors are not controlling, let alone dispositive, on the personal

 6 jurisdiction issue. Ultimately, Plaintiff’s unilateral conduct in California is insufficient to confer

 7 personal jurisdiction, and Defendants’ Motion should be granted.

 8 II.      ARGUMENT
 9          The Court can only exercise specific jurisdiction over Defendants if three requirements are

10 satisfied: (1) Defendants purposefully availed themselves of the benefits of California’s laws; (2)

11 Plaintiff’s claim arises out of or related to Defendants’ California-related activities; and (3) the

12 exercise of personal jurisdiction comports with fair play and substantial justice. Williams v.

13 Yamaha Motor Co. Ltd., 851 F.3d 1015, 1023 (9th Cir. 2017).

14          With respect to the first requirement, Plaintiff relies on several factors to argue that

15 Defendants purposefully availed themselves of privileges within California. In support of their

16 purposeful availment argument, Plaintiff points to the following facts: Defendants initiated contact

17 with Plaintiff, Defendants agreed to share profits with Plaintiff, Plaintiff and Defendants should be

18 considered a “joint venture,” Defendants sent payments to California-based Plaintiff and
19 Defendants’ profits under the Agreement were dependent on California. However, as discussed

20 herein, Plaintiff’s analysis of these factors is flawed, and Plaintiff cannot meet its burden to

21 establish purposeful availment because none of these facts show Defendants purposefully availed

22 themselves of the forum sufficient to confer jurisdiction.

23          Plaintiff also cannot meet its burden under the second prong. Specifically, Plaintiff cannot

24 show that its claim arises out of Defendants’ California-related activities—because there were

25 none.

26          Finally, even assuming Plaintiff could meet its burden to establish the first two

27 requirements, the exercise of personal jurisdiction over Defendants here would not be reasonable.

28 As discussed below, Defendants’ Motion should be granted.
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 1          A.     Defendants Have Not Purposefully Availed Themselves of the Privilege of
 2                 Conducting and Profiting from Business in California.
 3          To establish purposeful availment, it is “the defendant’s conduct that must form the

 4 necessary connection with the forum State that is the basis for its jurisdiction over [it].” Walden v.

 5 Fiore, 571 U.S. 277, 285 (2014) (emph. added). Importantly, “the fact that a contract envisions

 6 one party discharging his obligations in the forum state cannot, standing alone, justify the exercise

 7 of jurisdiction over another party to the contract.” Picot v. Weston, 780 F.3d 1206, 1213 (9th Cir.

 8 2015); see also Boschetto v. Hansing, 539 F.3d 1011, 1017 (9th Cir. 2008) (“a contract alone does

 9 not automatically establish minimum contacts in the plaintiff’s home forum”).

10          Plaintiff’s Opposition argues extensively that Defendants’ “knowledge” of Plaintiff’s

11 location in California is sufficient to establish personal jurisdiction. See ECF No. 10 at 2:5-6

12 (“[Defendants] knew that [Plaintiff] was located in California”); ECF No. 10 at 2:12 (Defendants

13 “knew [Plaintiff] was located in California”); ECF No. 10 at 3:7 (Defendants “reached out to

14 [Plaintiff], whom it knew to be in California…”); ECF No. 10 at 5:9-10 (Defendants “clearly

15 knew that Mr. Cagan…was located in California, even going so far as to coordinate calls to

16 mitigate between time differences”); ECF No. 10 at 8:6-7 (Defendants “knew that [Plaintiff] was

17 located in California and would conduct its operations from California”); ECF No. 10 at 17:9-10

18 (Defendants “knew that [Plaintiff] operated from within California…”). Despite Plaintiff’s
19 repeated reliance on Defendants’ purported “knowledge” of Plaintiff’s location, such knowledge

20 does not weigh heavily on the personal jurisdiction analysis, if at all. See Axiom Foods, Inc. v.

21 Acerchem International, Inc., 874 F.3d 1064, 1069-70 (9th Cir. 2017) (“[W]e must look to the

22 defendant’s ‘own contacts’ with the forum, not to the defendant’s knowledge of a plaintiff’s

23 connections to a forum.”); see also Walden, 571 U.S. at 289 (“Petitioner’s actions in Georgia did

24 not create sufficient contacts with Nevada simply because he allegedly directed his conduct at

25 plaintiffs whom he knew had Nevada connections. Such reasoning improperly attributes a

26 plaintiff’s forum connections to the defendant and makes those connections ‘decisive’ in the

27 jurisdictional analysis.”).

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 1                  1. Defendants did not initiate contact with Plaintiff because of ties to California.

 2          Plaintiff relies on Vuori v. Grasshopper Capital LLC, No. 17-CV-06362-JCS, 2018 WL

 3 1014633 (N.D. Cal. Feb. 22, 2018), to argue that because Defendants knew Plaintiff was located

 4 in California and would conduct its operations from there, Defendants must have purposefully

 5 availed themselves. See ECF No. 10 at 8:6-12. However, in reaching its conclusion, the Court in

 6 Vuori relied on several factors that are conspicuously absent here: (1) defendants were “interested

 7 in [plaintiff’s] ties to Silicon Valley;” (2) defendants specifically requested that plaintiff “reach[]

 8 out to potential investors in California;” and (3) defendant’s statement “that he believed

 9 [plaintiff’s] ‘connections’ would allow Defendants to reach their desired volume of investment.”

10 Vuori, 2018 WL 1014633, at *13. In Vuori, the defendants initiated contact with the plaintiff in

11 order to specifically derive a benefit from the plaintiff’s California connections. Here, on the

12 other hand, Defendants initiated contact with Plaintiff to create a “global” sales channel network,

13 not a California-based one (with products to be sourced by Plaintiff from “international markets”),

14 and Defendants certainly did not reach out to Plaintiff in order to utilize any of Plaintiff’s

15 California-specific connections. See, e.g., Nocher Enterprises, Inc. v. Aventus Outreach, LLC, No.

16 CV-18-3897-RSWL (JEMx), 2018 WL 6067438, at *5 (C.D. Cal. Nov. 16, 2018) (finding

17 purposeful availment where defendants did business with plaintiff “because of the anticipated

18 large volume of business it expected to generate” from the plaintiff’s California relationships).
19 Thus, Plaintiff’s reliance on Vuori is inapposite.

20          Furthermore, Plaintiff admits that the negotiations were conducted virtually (i.e., not in

21 California). See ECF No. 10 at 2:4-5. Thus, aside from the fact that Plaintiff was located in

22 California, nothing about the parties’ negotiations suggests that Defendants intended to avail

23 themselves of the rights and privileges of California. Plaintiff also does not deny that the

24 Agreement—by its very terms—was to be performed, and was performed, 1 outside of California.

25          Significantly, in McGlinchy v. Shell Chem. Co., 845 F.2d 802, 816 (9th Cir. 1988), the

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           Defendants reserve their right to raise any defenses regarding the adequacy of Plaintiff’s
28 performance under the terms of the Agreement.
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 1 Ninth Circuit found that “[i]n the absence of contractual obligations by [a defendant], such as sale

 2 of goods or services to California residents or a deliberate presence in California, [a plaintiff’s

 3 unilateral] activity is insufficient to satisfy part one of the ‘minimum contacts’ test.” Similarly,

 4 here, the Agreement makes no provision for the sale of goods or services to California residents;

 5 in fact, it provides exactly the opposite—that products will be supplied outside the United States.

 6 See ECF No. 5-1 at ¶¶ 12-15.

 7          In sum, the Agreement was in no way “purposefully directed” to have any “effect,” much

 8 less a continuing one, in California. McGlinchy, 845 F.2d at 817. That Plaintiff signed the

 9 Agreement in California does not change the analysis. 2 Id. at 816 (finding “the formality of [the

10 plaintiff’s] signing the contract in California [could not] establish jurisdiction”). Plaintiff’s own

11 conduct within the forum state is insufficient to establish “purposeful availment” by Defendants.

12 See id. at 816-17; see also Republic Int’l Corp. v. Amco Eng’rs, Inc., 516 F.2d 161, 167 (9th Cir.

13 1975) (noting that a plaintiff’s performance in California cannot give rise to jurisdiction over a

14 nonresident defendant because it is the defendant’s activity that must provide the basis for

15 jurisdiction). Therefore, Plaintiff has failed to meet its burden to establish purposeful availment,

16 and the Motion should be granted for lack of Defendants’ sufficient minimum contacts with

17 California.

18                  2. The “economic realities” of the Agreement were not directed at California.
19          Plaintiff argues that Defendants are subject to personal jurisdiction because the “economic

20 realities” of the Agreement inextricably linked Defendants’ financial prospects to California. See

21 ECF No. 10 at 8-10. This argument fails for several reasons.

22          First, as noted above, Plaintiff improperly relies heavily on its own, unilateral conduct.

23 Specifically, Plaintiff argues that it used California utilities, was registered with the California

24 Secretary of State, paid taxes in California, and employed California workers. See ECF No. 10 at

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27          Defendants lack personal knowledge regarding Mr. Cagan’s physical location at the time
   he signed the Agreement and therefore rely solely on Mr. Cagan’s declaration that he executed the
28 Agreement while in California.
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 1 2:19-21. As a threshold issue, none of this conduct by Plaintiff was a direct result of its contract

 2 with Defendants. But even more importantly, “courts have repeatedly held that the unilateral

 3 activity of a plaintiff cannot confer jurisdiction.” IPS Shared Technical Services, Inc. v.

 4 Overwatch Systems, Ltd., No. C-14-1112 EMC, 2014 WL 2110341, at *3 (N.D. Cal. May 20,

 5 2014); see also McGlinchy, 845 F.2d at 816-17 (noting that “appellants’ statement that they

 6 ‘performed 90% of [their] activities in the Bay Area,’ even if accurate, describes only unilateral

 7 activity”).

 8          Second, the mere act of sending payments to California is not sufficient to justify the

 9 exercise of personal jurisdiction here. Sarkis v. Lajcak, No. C-08-01911-RMW, 2009 WL

10 3367069, at *4 (N.D. Cal. Oct. 15, 2009), aff’d, 425 F.App’x 557 (9th Cir. 2011) (defendant’s

11 sending monthly payments to California was not sufficient to exercise personal jurisdiction “when

12 the material and essentially all of the performance of the contract was in Bosnia”); see also IPS

13 Shared, 2014 WL 2110341, at *3 (“That Overwatch sent payments to IPS in California is far from

14 being dispositive”) (citing Freudensprung v. Offshore Tech. Svcs., Inc., 379 F.3d 327, 344 (5th

15 Cir. 2004) (stating that “the combination of mailing payments to the forum state, engaging in

16 communications related to the execution and performance of the contract, and the existence of a

17 contract…are insufficient to establish the minimum contacts necessary to support the exercise of

18 specific personal jurisdiction over the nonresident defendant”)).
19          Third, Plaintiff largely ignores the fact that the Agreement required performance outside of

20 California, suggesting that the clear contractual language has no bearing on the personal

21 jurisdiction analysis. 3 But IPS Shared contradicts Plaintiff’s suggestion. There, although the

22 contract was negotiated in California, “the contract on its face required performance outside of the

23 state, i.e., in Colorado.” IPS Shared, 2014 WL 2110341, at *3. Moreover, “all

24 deliverables…were to be sent to…Texas.” Id. Importantly, the Court found that “[t]hese facts

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27          Plaintiff’s Opposition argues that Defendants’ focus on the location for Plaintiff’s supply
   of goods pursuant to the Agreement is “misleading” and “misapprehends the issue.” See ECF No.
28 10 at 16:19, 2:15-16.
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 1 weigh strongly against purposeful availment.” Id. Even though IPS argued that the contract was

 2 negotiated in California and that “ongoing, regular administration of the Contract was performed

 3 in California,” the plain language of the contract was controlling. Similarly, here, although

 4 Plaintiff argues that it performed its side of the Agreement in California, Plaintiff cannot escape

 5 the fact that the “contract on its face require[s] performance outside of the state.” See ECF No. 5

 6 at 8 (pursuant to the Agreement, Plaintiff was to supply Defendants with products for “any

 7 country in the world outside of the United States” and would supply “coronavirus antigen tests for

 8 sale to the United Kingdom Department of Health and Social Care”).

 9          Finally, in its Opposition, Plaintiff relies on Roth v. Garcia Marquez, 942 F.2d 617 (9th

10 Cir. 1991), to argue that there was purposeful availment because the economic reality of the

11 Agreement is that Defendants expected to derive significant profits from Plaintiff’s operations in

12 California. But Plaintiff’s reliance on Roth is misplaced. In Roth, the Ninth Circuit found the

13 defendant subject to specific personal jurisdiction because “most of the work” under the contract

14 “would have been performed in California,” including “all of the editing, production work, and

15 advertising.” Id. at 622. Here, however, the plain language of the Agreement confirms that “most

16 of the work” (indeed, all of the work) was to occur outside the United States.

17          Wickline v. United Micronesia, No. C-14-00192-SI, 2014 WL 2938713, at *8 (N.D. Cal.

18 June 30, 2014), distinguishes Roth by finding “the results of the performance” to be a key factor in
19 the personal jurisdiction analysis. In Wickline, the plaintiff argued the contract contemplated that

20 the majority of his duties and obligations under the contract would be performed in California, 4

21 just as Plaintiff argues here. Id. at *7. However, “the fact that plaintiff performed the majority of

22 his duties in California, his place of residence, through the use of a phone or email merely

23 constitutes unilateral activity and is insufficient to establish purposeful availment.” Id. Moreover,

24 the parties’ performance under the agreements was directed at Micronesia businesses and

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27          The plaintiff in Wickline was a California resident and performed some of his duties in
   California; additionally, the defendant paid for plaintiff’s California telephone and cell phones. Id.
28 at *1-2.
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 1 Micronesia residents, and it did not “promote the transaction of business within California.” Id.

 2 Thus, the “economic reality” of the agreements was that the contracts’ subject was activities in

 3 Micronesia, not in California. Id. Similarly, here, “the results of the performance” under the

 4 Agreement are to occur outside of California, since the Agreement specifically calls for the sale of

 5 products outside the United States. See ECF No. 5-1, ¶ 12, Ex. A at Section A; ¶ 5 (under the

 6 Agreement Plaintiff will supply products for the “Territory,” which is defined to mean “any

 7 country in the world outside of the United States”). Thus, contrary to Plaintiff’s argument, the

 8 “economic reality” of the Agreement does not contemplate activities in California.

 9                  3. Plaintiffs’ joint venture theory is misplaced.

10          Plaintiff’s Opposition argues that the parties’ contractual Agreement is sufficient to

11 “qualif[y] as a joint undertaking,” and as a result is sufficient to impute Plaintiff’s California

12 contacts to Defendants. See ECF No. 10 at 12:12-13. This theory is misplaced for a multitude of

13 reasons.

14          As an initial matter, the parties’ Agreement provides as follows:

15              21. Independent Contractors. The Parties are independent contractors.
                    Nothing in this Agreement shall be construed to create any venture or
16                  entity that is inconsistent with the Parties’ status as independent
                    contractors. Neither Party shall take any action or make any
17
                    representation that would suggest that any relationship exists between the
18                  Parties other than that of independent contractors. Neither Party shall
                    have any right or authority to assume or create any obligations on behalf
19                  of the other Party, express or implied, nor shall either Party represent to
                    any person that the Party has such authority or that the Party serves the
20                  other Party in any capacity other than as an independent contractor.
21
     See ECF No. 5-2 (emph. added). Plaintiff’s Opposition omits a discussion of this critical
22
     provision. See generally, ECF No. 10. The language of Section 21 makes clear that the parties
23
     specifically intended to avoid the creation of a joint venture, partnership, or any other entity
24
     “inconsistent with the Parties’ status as independent contractors.” Plaintiff seeks to maintain its
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     status as an independent contractor for purposes of the Agreement, while at the same time
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     claiming it has entered into a joint venture with Defendants in order to haul Defendants into
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     California courts. Plaintiff cannot have it both ways, and the joint venture theory should be
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 1 rejected.

 2          Setting aside the explicit language of the parties’ Agreement, Plaintiff relies entirely on

 3 cases outside of California which are not binding on this Court. 5 Presumably Plaintiff does so

 4 because Ninth Circuit authority confirms that “a partner’s actions…may not be imputed to the

 5 other partners” and “the district court has jurisdiction over only those individual partners who

 6 personally established the requisite minimum contacts with California.” Sher v. Johnson, 911

 7 F.2d 1357, 1366 (9th Cir. 1990); see also Aref v. Arab Rep. of Egypt, 1994 WL 444600, at *1 (9th

 8 Cir. 1994) (Unpub. Disp.) (“Bentley’s two meetings with clients in California can be imputed to

 9 the law office…but the law is clear that these contacts are insufficient for jurisdiction.”). Thus,

10 even under Plaintiff’s theory (which is contradicted by the express terms of the parties’

11 Agreement), Plaintiff would still have to show that Defendants have “the requisite minimum

12 contacts with California.” Because those contacts are absent here, the Court lacks personal

13 jurisdiction, and Defendants’ Motion should be granted.

14                  4. The terms of the Agreement do not weigh in favor of purposeful availment.

15          Next, Plaintiff argues that the terms of the Agreement gave Defendants “notice that legal

16 proceedings could occur in California.” See ECF No. 10 at 12:23. Tellingly, Plaintiff does not

17 cite to any provision in the Agreement providing that the venue of any dispute would be

18 California—because such a provision does not exist. Even the Agreement’s “Governing Law”
19 section provides that the laws of Delaware, not California, shall apply. See ECF No. 5-2 at ¶ 30.

20 Although the Agreement provides that written notice shall be sent to Plaintiff at its California

21 address, by Plaintiff’s own admission, this factor is not an important one, and is certainly not a

22 dispositive one. See ECF No. 10 at 13:3-4 (citing LocusPoint Networks, LLC v. D.T.V., LLC, No.

23 3:14-cv-01278-JSC, 2014 WL 3836792 (N.D. Cal. Aug. 1, 2014), for the proposition that

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              To support its joint venture theory, Plaintiff relies on cases in the Northern District of
26 Illinois, the Eastern District of Louisiana, the Southern District of New York, the District Court of

27 Kansas, and the District Court of Arizona. See ECF No. 10 at 10-12. Aside from citing a
   California state court case for the definition of a “joint venture,” Plaintiff’s argument is
28 unsupported by any California case law whatsoever.
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 1 agreement terms requiring notice to be sent to California address only “weighs slightly in favor of

 2 a finding of purposeful availment.”); see also Longyu Intern. Inc. v. E-Lot Electronics Recycling

 3 Inc., No. 2:13-cv-07086-CAS, 2014 WL 1682811, at *5 (C.D. Cal. Apr. 29, 2014) (noting that

 4 invoices sent to California address only “slightly favor[] a finding of purposeful availment”).

 5                  5. Defendants’ profits under the Agreement were not dependent on California.

 6          Plaintiff again relies on out-of-circuit authority for the proposition that Defendants

 7 intended to avail themselves of the rights and privileges associated with conducting business in

 8 California because Defendants would “send regular profit-splits” to Plaintiff. See ECF No. 10 at

 9 13:9-15 (citing an Eastern District of Michigan case). However, Ninth Circuit authority confirms

10 that even assuming Defendants agreed to share profits, this is insufficient for a finding that

11 Defendants availed themselves of the California forum. Picot v. Weston, 780 F.3d 1206, 1212

12 (9th Cir. 2015) (minimum contacts with California were lacking even where defendant “would

13 receive a one-third interest in any profits from the sale of the technology, $20,000 per month, and

14 reimbursement of his expenses to develop and adapt the technology”).

15          Plaintiff argues that because Defendants arranged for one-time pick-up of gloves in

16 California, they must be subject to jurisdiction here. See ECF No. 10 at 13:18-23. First, this one-

17 time pick up of gloves is tangential to the issues at hand, since Plaintiff’s claims do not relate to

18 the supply of gloves but to an entirely separate product—coronavirus antigen tests. Moreover, “a
19 defendant’s transitory presence [in the forum state] will support jurisdiction only if it was

20 meaningful enough to ‘create a ‘substantial connection’ with the forum State.’” Picot, 780 F.3d at

21 1213. Importantly, Plaintiff does not identify any other instances in which Defendants physically

22 entered California; thus, that “substantial connection” is lacking.

23          B.      Plaintiffs’ Claims Do Not Arise from Defendants’ Activities in California.
24          The second prong of the specific jurisdiction analysis is whether the claim arises out of or

25 relates to the defendant’s forum-related activities. See Williams v. Yamaha Motor Co. Ltd., 851

26 F.3d 1015, 1023 (9th Cir. 2017). “Regardless of where a plaintiff lives or works, an injury is

27 jurisdictionally relevant only insofar as it shows that the defendant has formed a contact with the

28 forum State. The proper question is not where the plaintiff experienced a particular injury or
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 1 effect but whether the defendant’s conduct connects him to the forum in a meaningful way.”

 2 Walden, 571 U.S. at 290. Here, Plaintiff’s claimed injury does not evince a connection between

 3 Defendants and California. See id. As set forth in Defendants’ Motion, none of the services

 4 related to the Agreement were performed in California, the products were not sold in California,

 5 and the Agreement contemplates that the products would be sourced from international markets

 6 for supply outside the United States. Thus, regardless of Plaintiff’s claim that it felt the injury in

 7 California, the fact remains that Defendants’ conduct does not connect them to California in any

 8 meaningful way.

 9          C.      The Exercise of Jurisdiction in California Is Not Reasonable and Proper.
10          If Plaintiff meets its burden of satisfying the first two prongs of the specific jurisdiction

11 analysis, the burden shifts to the defendant to show that exercising jurisdiction would not be

12 reasonable. See Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004)

13 (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476-78 (1985)). Because Defendants

14 lack sufficient minimum contacts with California, the Court need not even determine whether the

15 exercise of personal jurisdiction over it here would be reasonable. See Baca Gardening &

16 Landscaping, Inc. v. Prizm Vinyl Corp., 2008 WL 4889030, at *6 (C.D. Cal. Nov. 12, 2008).

17 However, even if Plaintiff could establish sufficient minimum contacts, the reasonableness

18 requirement still defeats the exercise of jurisdiction for the reasons set forth in Defendant’s
19 Motion.

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 1 III.     CONCLUSION
 2          For the foregoing reasons, Defendants respectfully request that their Motion be granted in

 3 its entirety and that this action be dismissed pursuant to Fed. R. Civ. P. 12(b)(2) for lack of personal

 4 jurisdiction.

 5

 6 DATED: May 24, 2021                               Respectfully Submitted,

 7                                                   MCGUIREWOODS LLP
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 9
                                                By: /s/ Alicia A. Baiardo
10                                                  Alicia A. Baiardo
                                                    Piper A. Waldron
11                                                  Attorneys for Specially Appearing Defendants
                                                    TannerGap, Inc. and Tanner Pharma UK Limited
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                                  PERSONAL JURISDICTION
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 1                                  CERTIFICATE OF SERVICE

 2         I certify that on May 24, 2021, the foregoing document entitled SPECIALLY
 3 APPEARING DEFENDANTS TANNERGAP, INC. AND TANNER PHARMA UK

 4 LIMITED’S REPLY IN SUPPORT OF MOTION TO DISMISS FOR LACK OF

 5 PERSONAL JURISDICTION was filed electronically in the Court’s EFC; thereby upon

 6 completion the ECF system automatically generated a “Notice of Electronic Filing” as service

 7 through CM/ECF to registered e-mail addresses of parties of record in the case.

 8

 9                                              /s/ Alicia A. Baiardo
                                                Alicia A. Baiardo
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                                 PERSONAL JURISDICTION
